Case 3-18-11929-cjf           Doc 27   Filed 08/05/19 Entered 08/05/19 09:59:24           Desc Main
                                       Document     Page 1 of 8



                     UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

In re: Nathaniel James Marvin Raimer            Case No.18-11929-cjf
                             Debtor.            (Chapter 7)
______________________________________________________________________________

    NOTICE OF TRUSTEE’S MOTION TO COMPROMISE CLAIM BY THE ESTATE
______________________________________________________________________________

         Virginia E. George, the Trustee in this case, has filed a motion to compromise a claim by

the estate. A copy is attached. In general, the Trustee is seeking authority to compromise the

settlement of a preference claim against the debtor’s parents.

Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. (If you do not have an

attorney, you may wish to consult with one.)

If you do not want the court to grant the trustee’s motion or if you want the court to consider

your views regarding this motion, then on or before ___August 26, 2019 _you must file with the

court a written objection to the motion and a request for a hearing at:

                                  Clerk, US Bankruptcy Court
                                  Western District of Wisconsin
                                  120 North Henry Street, room 340
                                  Madison, WI 53703-2559

2.       If you mail your request to the court for filing, you must mail it early enough so the court
         will receive it on or before the date stated above.

3.       You must also mail a copy to:

         Office of the U.S. Trustee                    Virginia E. George, Trustee
         780 Regent Street                             4212 N. Oakland Avenue
         Suite 304                                     Shorewood, WI 53211
         Madison, WI 53715




Virginia E. George, Trustee
4212 N. Oakland Avenue
Shorewood, WI 53211
phone: (920) 235-6690
Case 3-18-11929-cjf           Doc 27   Filed 08/05/19 Entered 08/05/19 09:59:24          Desc Main
                                       Document     Page 2 of 8



         Requests for additional information should be directed to the trustee.

         If you or your attorney do not take these steps, the court may decide that you do not

oppose the relief which may be sought and may enter an order granting that relief.

 Dated: 08/04/2019                                  /s/ Virginia E. George


                                                    Virginia E. George, Trustee




Virginia E. George, Trustee
4212 N. Oakland Avenue
Shorewood, WI 53211
phone: (920) 235-6690
Case 3-18-11929-cjf       Doc 27    Filed 08/05/19 Entered 08/05/19 09:59:24              Desc Main
                                    Document     Page 3 of 8


                             UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN
________________________________________________________________________________________

In re: Nathaniel James Marvin Raimer                     Case No.18-11929-cjf
                   Debtor                                (Chapter 7)
_________________________________________________________________________________________

                 TRUSTEE’S MOTION TO COMPROMISE CLAIM BY THE ESTATE
  _________________________________________________________________________________________

        Virginia E. George, Trustee in Bankruptcy of the above-named estate, moves the court for

an order authorizing the compromise of the claim of the estate on the terms and for the reasons

stated below, pursuant to Federal Rule of Bankruptcy Procedure 9019. The Trustee moves the

Court for such authority assuming no objections to said compromise are timely filed:

   1. This case was filed on 06/06/2018 under Chapter 7 of the Bankruptcy Code.

   2. The debtor’s schedules indicate general unsecured pre-petition, non-priority creditors of

        $31,328.10.

   3. (Give details regarding what the controversy in question is) The debtor made a transfer of

        real estate to his parents for less than equivalent value within the two year look back

        period. Such a transfer is prohibited by 11 USC § 548(a)(1) and the trustee could start an

        adversary proceeding against the parents to attempt to win a money judgment for at most

        $21,000.00. The facts of the transfer are set forth in detail in the attached stipulation.

   4.    The debtor’s parents Timothy Raimer and Marie Raimer have offered to settle the above

        described transfer by paying the estate $10,000.00 to the bankruptcy estate. The trustee

        recommends the settlement subject to approval by the Court after notice to creditors.

   5. ANALYSIS OF PROPOSED COMPROMISE: The factors set forth in the case of In re

        American Reserve, 841 F.2d 159 (7th Cir.1987) apply as follows:

               a.      Comparison of the settlement terms with litigation, probable costs and

                                                                              COMP (11/00) B9
Case 3-18-11929-cjf     Doc 27     Filed 08/05/19 Entered 08/05/19 09:59:24               Desc Main
                                   Document     Page 4 of 8


                      probable benefits:    Without a settlement the estate would have to start an

                      adversary proceeding (a lawsuit) against the debtor’s parents. It is likely

                      the estate would win the adversary proceeding, but it would take a

                      substantial amount of time (6 -12 months) and cost the estate about

                      $5,250.00 dollars in attorney fees and $600.00 in expenses. The proposed

                      settlement/compromise with the debtor’s parents for $10,000.00 avoids

                      this litigation, brings finality and avoids expenses.

             b.       CREDITORS / CLAIMS FILED:             The claims bar date has passed. The

                      trustee has reviewed all the claims filed #1-3. The filed priority claims

                      total $0.00 and the filed unsecured claims total $24,186.15 and, if the

                      compromise is approved, the estimated administrative claims total

                      $1,750.00 in trustee compensation and $85.00 in expenses.

             c.       EFFECT ON CREDITORS: The trustee estimates the settlement will

                      provide adequate funds to pay a distribution of approximately 37% to the

                      unsecured creditor class.

             Dated: 08/05/2019                        /s/
                                                     Virginia E. George
                                                     Chapter 7 Trustee
                                                     4212 N Oakland Avenue
                                                     Shorewood, WI 53211
                                                     Phone: (920)235-6690
                                                     Email: vgeorge@steinhilberswanson.com




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Case 3-18-11929-cjf   Doc 27   Filed 08/05/19 Entered 08/05/19 09:59:24   Desc Main
                               Document     Page 5 of 8
Case 3-18-11929-cjf   Doc 27   Filed 08/05/19 Entered 08/05/19 09:59:24   Desc Main
                               Document     Page 6 of 8
Case 3-18-11929-cjf   Doc 27   Filed 08/05/19 Entered 08/05/19 09:59:24   Desc Main
                               Document     Page 7 of 8
Case 3-18-11929-cjf   Doc 27   Filed 08/05/19 Entered 08/05/19 09:59:24   Desc Main
                               Document     Page 8 of 8
